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Exhibit 1

Mediation Term Sheet
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RHODES ENTITIES’ MEDIATION SETTLEMENT PROPOSAL

Releases for Rhodes Entities:

The Rhodes Entities (as set forth on Attachment A) shall receive a full release
for chapter 5 causes of action with respect to transfers made by the Debtors to
the Rhodes Entities during the 2 years prior to the Petition Date provided,
that, such release shall only apply to transfers expressly set forth in the
Debtors’ statements of financial affairs as filed with the Bankruptcy Court as
of August 1, 2009 or as disclosed in Attachment B.

Releases for Debtors? officers,
employees and professionals

To the extent permitted by applicable law, the Plan shall provide that, but for
(i) the Rhodes Entities and their affiliates; (ii) insiders of any of the Rhodes
Entities (except as to Thomas Robinson and Joseph Schramm who were also
employees of the Debtors); (iii) relatives of James Rhodes, the Debtors’
oflicers, employees (including Thomas Robinson and Joseph Schramm), and
professionals, as of the Petition Date, and Paul Huygens shall receive a
general release from the Debtors’ estates.

|

Exculpation:

te Plan shall contain standard exculpation provisions,
ft

Bond Replacement or
Indemnification:

The Plan shall provide for one of the following: (i) those performance bonds
guaranteed by the Rhodes Entities in favor of the Debtors to be replaced on a
renewal date by new performance bonds or, in the alternative, (ii) subject to
oe Rhodes Entities being reasonably satisfied with the creditworthiness of
the Reorganized Debtors, which shall be satisfied solely as of the Effective
Date by the Court finding that the Plan is feasible, the existing performance
bohds guaranteed by the Rhodes Entities and such guarantees to remain in
place. The applicable Rhodes Entity’s agreement to remain a guarantor under
the existing performance bonds as such performance bonds may be renewed
sha be at no cost to the Rhodes Entities (including, but not limited to, the
payment of bond premiums). In the event the Reorganized Debtors fail to
perm their obligations underlying such renewed performance bonds after
the Effective Date, the Reorganized Debtors will indemnify the Rhodes
Entities under such outstanding performance bonds for damages incurred by
the Rhodes Entities on account of their guarantee of such performance bonds
solely as a result of the Reorganized Debtors’ failure to perform such
obligations subsequent to the Effective Date. The Reorganized Debtors shall
use) Commercially reasonable efforts to replace all outstanding performance
borids backstopped by Rhodes Entities within 30 months of the Effective
Date. The Bankruptcy Court shall retain jurisdiction to resolve any disputes
arising out of this paragraph.

HOA Board Seats:

The Rhodes Entities shall ensure that designees identified by the Reorganized
Debtors shall replace the Rhodes Entities on any HOA Boards that in any
way are related to the Debtors, Reorganized Debtors or their businesses and
Declarant rights or the like shall be transferred to the Reorganized Debtors or
theif designee(s).

Licensing:

|
TheiRhodes Entities shall take commercially reasonable steps and/or enter
into lany agreements or similar documentation reasonably necessary to ensure
the Reorganized Debtors’ continued use of all of the Debtors’ applicable
professional licenses at no cost to the Rhodes Entities for a period of up to
twelve months following the Effective Date. Additionally, provided that the
parties have executed this Mediation Settlement Term Sheet, Sagebrush
Enterprises, Inc. shall rescind by September 25, 2009 its revocation of its
indemnity of the Nevada Contractors’ license held by Rhodes Design &
Development Corporation to the extent such rescission does not negatively

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Orporation provided that Sagebrush shall be entitled to file an administrative
aim on behalf of any and all claims asserted against Sagebrush as a result of
agebrush being the indemnitor that arose from and after the effectiveness of
sagebrush’s recission of its indemnity through the Effective Date, provided
that the allowance of such administrative claim shall be subject to resolution
y the Bankruptcy Court and/or such other court(s) of competent jurisdiction.
e¢ Reorganized Debtors shall indemnify Sagebrush for any and all claims
ahi fo against Sagebrush as a result of Sagebrush being the indemnitor that

eo the general contractor’s license held by Rhodes Design & Development
1

ise from and after the Effective Date. Professional licenses include, but are
not limited to the Nevada State Contractor’s Board license, and any other
general business or similar licenses in any county, state, municipality or other
yrisdiction in which the Reorganized Debtors conduct business or own assets
as of the Effective Date. The Rhodes Entities shall use commercially
reasonable efforts to maintain third party agreements with their real estate
brokers and sales agents.

Rhodes Entities’ Claim
Treatment:

To the extent allowed, the Rhodes Entities’ Claims shail be treated in the

same class as and treated pari passu with General Unsecured Claims,
excluding Trade Claims. The First Lien Steering Committee, any First Lien
Lender and/or the Reorganized Debtors shall have until sixty days following
the Effective Date to object to the proofs of claim filed by the Rhodes Entities
in|the Debtors’ chapter 11 cases (provided, that, such objection shall not seek
to subordinate the Rhodes Entities Claims, if allowed). Neither the Litigation
Trust nor the Reorganized Debtors shall commence any litigation against the
Rhodes Entities until the Bankruptcy Court rules on the allowance of the
Rhodes Entities Claims set forth in such proofs of claim (for the avoidance of
doubt, the First Lien Lenders are not bound by this provision). To the extent
any statute of limitations to pursue any claims belonging to the Debtors
against the Rhodes Entities would lapse, from execution of this term sheet
and prior to the Bankruptcy Court’s resolution of the allowance of the Rhodes
Entities Claims, as set forth in filed proofs of claim, the Rhodes Entities shall
be deemed to have consented to a tolling of the applicable statute of
limjtations until sixty days following the Bankruptcy Court’s ruling on the
allowance of the Rhodes Entities Claims.

Tax Treatment:

Thg Plan shall be structured in a tax efficient manner to the Rhodes Entities
to effectuate the benefits set forth in item 4 on Attachment C; provided, that
there shall be no adverse impact on the Reorganized Debtors or the First Lien
Lenders. The Rhodes Entities and the First Lien Steering Committee shall
agree on the structure necessary to implement the tax treatment on or before
September 25, 2009,

Effective Date:

The/Plan Effective Date shall occur no earlier than January 4, 2010.

Rhodes Ranch Golf Course:

The' term Rhodes Ranch Golf Course, as referred to herein, shall mean the
golf course situated within the Rhodes Ranch master-planned community
located in the southwestern Las Vegas valley.

Conditions Precedent to Effective
Date:

1. The Bankruptcy Court shall have authorized the assumption and rejection
of executory contracts and unexpired leases by the Debtors.

2. Yhe Confirmation Order shall have become a Final Order in form and
substance acceptable to the First Lien Steering Committee,

3. The most current version of the Plan Supplement and all of the schedules,

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Pcuments, and exhibits contained therein shall have been Filed in form and
Pbstance acceptable to the First Lien Steering Committee.

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4! The documents governing the New First Lien Notes, the Newco Charter,
the Newco Bylaws and the Stockholders Agreement shall be in form and
substance acceptable to the First Lien Steering Committee.

5., The Confirmation Date shall have occurred,

6.| The First Lien Steering Committee shall have designated and replaced
each existing Qualified Employee with a new Qualified Employee.

7.\ The current debt outstanding on the Rhodes Ranch Golf Course shall be
tefinanced on terms and conditions acceptable to Rhodes and the First Lien
Steering Committee.

8.| Copies of all Debtors’ books and records shall have been delivered to the
Rhodes Entities at no cost to the Rhodes Entities.

9. |The Arizona Assets shall have been transferred to the Rhodes Entities (or
their designee) free and clear of all liens and claims pursuant to section 363(f)
of ithe Bankruptcy Code on the Effective Date provided, that the non-First
Lien Lender/Second Lien Lender liens do not exceed $60,000.

10 The Debtors shall have assumed and assigned all executory contracts and
unexpired leases related solely to the Arizona Assets to the Rhodes Entities
(or|their designee), at no cost to the Debtors or the Reorganized Debtors, with
all Cure costs associated therewith to be borne by the Rhodes Entities

11.) The Rhodes Entities and the First Lien Steering Committee shall have
agreed on the structure necessary to implement the tax structure benefits set
forfh in Exhibit C,

12. The Rhodes Entities and First Lien Steering Committee shall have agreed
on the Golf Course Security Property.

13. | The Rhodes Entities shall have ensured that designees identified by the
Reorganized Debtors shall have replaced the Rhodes Entities on any HOA
Boafds that in any way are related to the Debtors, Reorganized Debtors or
theit businesses and Declarant rights or the like shall be transferred to the
Reorganized Debtors or their designee(s)

14. |The Rhodes Entities shall have performed all of their obligations under
the Plan including, without limitation, depositing $3.5 million in Cash in an
account designated by the Debtors, with the consent of the First Lien Steering
Committee and transferring the equity in the entity that owns the Rhodes
Ran¢h Golf Course and related contracts and assets to the Reorganized
Debtors pursuant to the terms of a stock transfer agreement in form and
substance acceptable to the Rhodes Entities and the First Lien Steering
Committee.

15. |All other customary Conditions Precedent to the Effective Date as
detertnined by and acceptable to the First Lien Steering Committee, in its sole
discretion

| Waiver of Conditions Precedent _[ The First Lien Steering Committee may waive any of the conditions to the

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to the Effective Date

Effective Date at any time, without any notice to parties in interest and
without any further notice to or action, order, or approval of the Bankruptcy
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purt, and without any formal action other than proceeding to confirm or
nsummate the Plan; provided, that the First Lien Steering Committee will
not waive the conditions precedent in items 6 through 12 above if the Rhodes
Entities shall have complied with all of their obligations hereunder and in the
Plan by the Effective Date (or such earlier date specifically set forth herein).
In the event the Rhodes Entities fail to comply with any of their obligations
hereunder or under the Plan by the Effective Date and fail to cure such
alleged breach within ten (10) days’ written notice to the Rhodes Entities,
then the First Lien Steering Committee shall be entitled to file a motion on at
least seven (7) days notice to (i) determine that a breach has occurred (except
that the failure of the parties to agree on the refinancing of the Rhodes Ranch
Golf Course solely as a result of the First Lien Steering Committee acting
unreasonably or in bad faith shall not be deemed a failure of the Rhodes
Entities to comply with their obligations hereunder or under the Plan), and the
Rhodes Entities reserve their right to object to such motion; (ii) modify the
Plan to remove any provisions hereof that were included for the benefit of the

des Entities; and (iii) consummate the Plan, as modified. Upon entry of
an order of the Bankruptcy Court finding a breach by the Rhodes Entities and
Sufhorizing the modifications to the Plan to remove any provisions that were
included for the benefit of the Rhodes Entities, the First Lien Steering shall
be authorized to make such modifications and consummate the Plan.

Modification of the Plan

The First Lien Steering Committee shall not modify materially the terms of
the! Plan without the prior consent of the parties to this term sheet so long as
such parties have complied with all of their obligations hereunder and under
the Plan by January 4, 2010 (or such other date specifically set forth herein).

Plan Support:

The Debtors and Rhodes Entities shall only support a plan of reorganization
filed by the First Lien Steering Committee containing all of the provisions of
this| Mediation Settlement Term Sheet and consistent with the Plan to which
this, term sheet is an exhibit and will not file a competing plan of
reotganization or support any other plan of reorganization filed in the
Debtors’ chapter 11 cases.

Golf Course Transfer:

On the Effective Date, the applicable Rhodes Entities shall transfer their
equity interests in the entity that owns the Rhodes Ranch Golf Course to the
Reorganized Debtors (together with any equipment, golf carts, contracts or
other assets determined by the First Lien Steering Committee to be necessary
for the operation of the Rhodes Ranch Golf Course) pursuant to the terms of a
stock transfer agreement in form and substance acceptable to the First Lien
Steering Committee and Rhodes, subject to any outstanding debt on the
Rhodes Ranch Golf Course. The stock transfer agreement shall contain
representations by the Rhodes Entities that the entity that owns the Rhodes
Ranch Golf Course does not have any liabilities other than ordinary course
liabilities related to the Rhodes Ranch Golf Course and indemnification
provisions in favor of the Reorganized Debtors by the Rhoades Entities for any
non-ordinary course liabilities. In addition, prior to the deadline for filing
obje¢tions to the Disclosure Statement, the Rhodes Entities shall provide the
First; Lien Steering Committee with a list of all liabilities of the entity that
owns the Rhodes Ranch Golf Course, a lien analysis and copies of all
contracts related to the Rhodes Ranch Golf Course and to which the entity
that owns the Rhodes Ranch Golf Course is a party, each of which must be
acceptable to the First Lien Steering Committee.

The ¢xisting debt outstanding on the Rhodes Ranch Golf Course shall be

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efinanced on or before the Effective Date, for a period of no less than twelve
12) months from the Effective Date, on terms and conditions acceptable to
thodes and the First Lien Steering Committee. The parties will work together
} good faith to refinance the existing debt. The Reorganized Debtors shall
ay the reasonable costs and expenses associated with the refinancing;
fovided, that the terms of such refinancing are acceptable to the First Lien
eering Committee. The First Lien Steering Committee acknowledges that
¢ loan documentation may provide that, upon the transfer of the Rhodes
anch Golf Course to the Reorganized Debtors on the Effective Date,
ditional collateral from the Reorganized Debtors may be required. The
hodes Entities shall transfer to the Reorganized Debtors on the Effective

ebt any contracts related to the operation of and revenue generated by any
1 towers located on the Property of the Rhodes Ranch Golf Course. Any
nds received after July 31, 2009 from the Las Vegas Valley Water District
other similar entity as an incentive for converting the golf course from a
sreen course to a desert course shall be used for operating expenses
associated with the Rhodes Ranch Golf Course, with any excess to become
Property of the Reorganized Debtors on the Effective Date.

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Rhodes and/or his designee shall have the absolute right to repurchase the
odes Ranch Golf Course from the Reorganized Debtors at eight (8) years
from the Effective Date for $5.9 million in cash. The Reorganized Debtors
may require Rhodes to purchase the Rhodes Ranch Golf Course any time
between four (4) and eight (8) years from the Effective Date for $5.9 million
in ¢ash provided that the Reorganized Debtors shall provide Rhodes with at
least one year advance notice of its intent to sell the Rhodes Ranch Golf
Coprse back to Rhodes. Such transfer shall occur on the applicable
anniversary date of the Effective Date. For the avoidance of doubt, if the
Reorganized Debtors put the Rhodes Ranch Golf Course to Rhodes in
accordance with the terms hereof and Rhodes fails to comply with his

obligation to purchase the Rhodes Ranch Golf Course, Rhodes shall be
deemed to have forfeited his option to purchase the Rhodes Ranch Golf
Course.

On the Effective Date, Rhodes’s obligations to comply with the repurchase
shall be secured by either (i) $500,000 in cash in an escrow account or (ii)
property worth at least $2 million (the “Golf Course Security Property”), with
the value of such property to be agreed to by Rhodes and the First Lien
Ste ring Committee or otherwise valued by an independent third party
appraisal firm acceptable to both Rhodes and the First Lien Steering
Committee (except Cushman Wakefield). In the event that Rhodes does not
meet the repurchase request, provided that the Rhodes Ranch Golf Course is
in the standard condition (defined below), then the Reorganized Debtors shall
be entitled to liquidated damages in the form of security pledged (i.e., the
om or the Golf Course Security Property).

So long as Rhodes has not defaulted on his obligation to repurchase the
Rhodes Ranch Golf Course, Rhodes shall have the absolute and sole
discretion to replace the Golf Course Security Property with $500,000 in cash
on 30 days written notice to the Reorganized Debtors. Upon deposit of the
$500,000 in cash, the Golf Course Security Property shall be released to
Rhodes or his designee. Notwithstanding anything to the contrary contained
hereih, if the Rhodes Ranch Golf Course is not maintained with substantially

the same performance and rating criteria at the time of the repurchase request
as verified by an independent third party rating agency as it was on the
Effective Date (“Standard Condition’), James Rhodes can (i) require the

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eorganized Debtors to cure any conditions to return the Rhodes Ranch Golf
ourse to its Standard Condition (provided, that the cost of such cure does
pt exceed $500,000), or (ii) choose not to purchase the Rhodes Ranch Golf
ourse. Upon either the repurchase of the Rhodes Ranch Golf Course or the
written decision to not repurchase the Rhodes Ranch Golf Course (in
adcordance with the preceding sentence), the Golf Course Security Property
or the $500,000 Cash (if not applied to the repurchase of the Rhodes Ranch
I Course) shall be returned to Rhodes within 30 days.

QE Ow

Oh the Effective Date, the Reorganized Debtors shall record a memorandum
“4 agreement against the Rhodes Ranch Golf Course to evidence the above.

Golf Course Audit:

ring the period from September 1, 2009 through September 23, 2009, the

odes Entities shall provide access to the First Lien Steering Committee or
its; designee to undertake a financial and operational audit of the Rhodes
Ranch Golf Course. The results of such audit must be acceptable to the First
Lien Steering Committee in its sole discretion and evidence, among other
things, that the financial performance of the Rhodes Ranch Golf Course is
sf to pay operating expenses and service the debt on the Rhodes

Ranch Golf Course without the need for additional liquidity.

Cash Payment:

The Rhodes Entities shall make a cash payment to the Reorganized Debtors
of $3.5 million in cash on the Effective Date.

Arizona:

Onj the Effective Date, pursuant to an asset transfer agreement in form and
substance acceptable to the First Lien Steering Committee and the Rhodes
Entities, the Debtors shall transfer Pravada and the other Arizona assets set
forth on Attachment D hereto, plus the Golden Valley Ranch tradename to
the Rhodes Entities free and clear of all liens, claims and encumbrances
pursuant to section 363(f) of the Bankruptcy Code; provided, that the non-
Firgt Lien Lender/Second Lien Lender liens do not exceed $60,000; provided
that such assets shall not include assets owned by Pinnacle Grading located in
Arizona and related contracts associated with the assets,. Debtors shall
provide James Rhodes notice of any proposed sale of the Pinnacle assets, and
James Rhodes shall be granted a tight to bid on the sale of such assets within
10 days of such notice. Rhodes Entities shall permit storage of Pinnacle
Grading equipment at current locations at no cost to the Reorganized Debtors
for 4 period through six months following the Effective Date.

All executory contracts and unexpired leases associated solely with Arizona
shall be assumed and assigned to the Rhodes Entities (or their designee), at
ho ¢ost to the Debtors or the Reorganized Debtors and all cure costs
associated therewith shall be borne by the Rhodes Entities.

Plan Filing:

L

The Debtors, the Rhodes Entities, the First Lien Steering Committee, the First
Lien Agent, the Second Lien Agent and the Creditors Committee shall agree
not to file a plan of reorganization until the earlier of {i) the date the parties
agree on the terms of a plan of reorganization (and accompanying disclosure
statement) or (ii) September 25, 2009.

Cash Collateral:

L

The First Lien Steering Committee, First Lien Agent and Second Lien Agent
will agree to the continued use of cash collateral on existing terms and subject
to an| agreed upon budget, through January 11, 2010.

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Trademarks and Trade Names

“Within the earlier of thirty (30) days following: G) upon completion of the
- buildout of all of the Reorganized Debtors’ homebuilding assets and
: inveritory (regardless of when such assets atid inventory were acquired), or

(i) bulk sale of the remaining inventory of the Reorganized Debtors, the

| Reorganized Debtors shall transfer to James Rhodes (or his designee) the
trademarks and tradenames set forth on Attachment E..

i

“Trade Claims Analysis

| The First Lien Steering Committee; te Debtors and the Creditors Committee

will agree, prior to the hearing on the Disclosure Statement, (i) which filed. or

| scheduled claims‘shall be classified as Trade Claims and (ii) on a procedure

for the reconciliation of Trade Claims, If the parties are unable to. agree.on (i)

} 01 Gif) above in advance of the Disclosure Statement hearing, the Bankruptcy:
Court shall resolve any disputes at he Disclosure Statement hearitig.
et ;

Preference Claims Against

f us Against “The Reorganized Debtors shall nat seek t avoid prepetition wansiors to
Halilers of Allowed Trade Claims | hold

dlders of allowed Trade Claims under Bankruptcy Code section $47 to the

extent the resulting claim from the avoidarice of stich:a preferential iransfer
would likewise be an allowed Trade Claim.

I Stanley Engineering

Inthe-event.the Stanley Engineering Litigation is resolved either by judgment
‘| Or settlement in a manner favorable to the Reorganized Debtors and such.
| resolution does not provide for Cash consideration to be-received by the

Reotgauized Debtors and Second Lien Lenders: the Reorganized Debtors.and
tha Second Lien Agent shall engage in good faith negotiations 10-enisure that
the Second Lien Lenders receive consideration equivalent ta. 50% of the Ret.

| value-of such resolution and to determine.the timing of payment of'any such
| soasideration, In the event the Reorganized Debtors and the Second Lien’
Agent are unable to agree on the amount or form of such consideration, the

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parties will submit the matter to binding arbitration. with the costs thereof to.

split evenly. among.the Reorganized | ebtors and thé Second Lien Agent

AGwith the coxts of the Second Lien Agent to be seimbursed frani the
consideration to be distributed to the Second Lien Lenders on account of ute

BO Glan, BS,
Gounsdl to the Firse tah

Stanley Engineering Litigation)

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authority from each of the members thereof

APPROVED
By:

Nani:

Title:

Lien Lenders

APPROVED

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APPROVED
By:
Name:

Tide:

Counsel to Welly Parga, NA, ‘a8 Agent for the Second — Counsel to the Official Commitiee of

Unsecured Greditors

APPROVED

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Trademarks and Trade Names

Within the earlier of thirty (30), days following: (i) upon completion of the
buildout of all of the Reorganized Debtors’ homebuilding assets and.
inventory (regardless of when such assets and inventory were acquired), or
(ii) bulk sale of the remaining inventory of the Reorganized Debtors, the
Reorganized Debtors shall transfer to James Rhodes (or his designee) the

| trademarks and tradenames set forth on Attachment E.

Trade Claims Analysis

The First Lien Steering Committee, the Debtors-and the Creditors Committee
will agree, prior to the hearing on the Disclosure Statement, (i) which filed or
scheduled claims shall be classified as Trade Claims and (ii) on a procedure

for the reconciliation of Trade Claims. If the parties are unable to agree on (i)

‘or (ii) above in advance of the Disclosure Statement hearing, the Bankruptcy
Court shall resolve any disputes at the Disclosure Statement hearing.

- Preference Claims Against
Holders of Allowed Trade Clainis

The Reorganized Debtors shall not seek to avoid prepetiion transfers to

‘holders of allowed Trade Claims under Bankruptcy Code section 547 to the
extent the resulting claim from the avoidance of such a preferential transfer
would likewise be an allowed Trade Claim.

| Stanley Engineering

Inthe event the Stanley Engineering Litigation is resolved either by judgment

or settlement in 4 manner favorable to the Reorganized Debtoré and such

“fesdlation does not provide for Cash consideration to be received by the
| Reorganized Debtors and Second Lien Lenders, the Reorganized Debtors and
the Second Lie Agent shall engage in good faith negotiations to exisure that

the Second Lien Lenders receive consideration equivalent to 50% of the net
value of such resolution and to determine the timing’ of payment of any such
consideration, In the event the Reorganized Debtors and the Second Lien
Agent are unable to agree on the amount or form of such consideration, the
parties ‘will submit the matter to binding arbitration with the costs thereof to
be split evenly among the Reorganized Debtors and the Second Lien Agent
(with the'costs of the Second Lien Agent to be reimbursed from the _
consideration to be distributed to the Secotid Lien Lenders-on account of the
Stanley Engineering Litigation) a

APPROVED

By.
‘Name:
“Title:

‘Counsel to the First Lien Steering Commitee, with
authority from each of the members thereof

Title: brasrd "
Counsel to Wells
Lien Leaders
APPROVED
By:
Name: James. M. Rhodes.
Title: President
The Rhodes Entities

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Fargo, N.4., as Agent for the Second

‘APPROVED

By:
‘Name:

‘Title: .

Counsel to the Official Committee of
‘Unsecured Creditors

APPROVED

By: =
Name: James M.Riodes

Title: President _
Debtors and Debtors-in- Possession:

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‘Trademarks and Trade Names Within the earlier of thirty (30) days following: (i) upon completion of the
bpildout of all of the Reorganized Debtors’ homebuilding assets and

inventory (regardless of when such assets and inventory were acquired), or
(ii) bulk sale of the remaining inventory of the Reorganized Debtors, the
Reorganized Debtors shall transfer to James Rhodes (or his designee) the
trademarks and tradenames set forth on Attachment E,

| Frade Claims Analysis The First Lien Steering Committee, the Debtors and the Creditors Committee
‘will agree, prior to the hearing on the Disclosure Statement, (i) which filed or
scheduled claims shall be classified as Trade Claims and, (ii). on a procedure
for the reconciliation of Trade Claims. If the parties are unable to agree on (i)
on Gi) above in advance of the Disclosure Statement hearing, the Bankruptcy
Court shall resolve any disputes at the Disclosure Statement hearing.

| Preference Claims Against ihe Reorganized Debtors shall not seek to avoid prepetition transfers to

| Holders of Allowed Trade Claims | holdexs of allowed Trade Claims under Bankruptcy Code section 547 to the
: | extent the resulting claim from the avoidance of such a preferential transfer
would likewise be an allowed Trade Claim,

Stanley Engineering Inthe event the Stanley Engineering Litigation is resolved either by judgment
of settlement in. a manner favorable to the Reorganized Debtors and such
resolution does not provide for Cash consideration to be received by the
Reorganized Debtors and Second Lien Lenders, the Reorganized Debtors and
| the Second Lien Agent shall engage in good faith negotiations to ensure that
the Second Lien Lenders receive consideration equivalent to'50% of the net
Value of such resolution aid to determine the timing of payment of any such
consideration. In the event the Reorganized Debtors andthe Second Lien
Agent are unable to agree on the amount or form of such consideration, the
| parties will submit the matter to binding arbitration with the-costs thereof to
| be split évenly among the Reorganized. Debtors and the Second Lien Agent
(with the costs of the Second Lien. Agent to be reiniburted from the
sideration to be distributed to the Second Lien Lenders on account of the
tanley Engineering Litigation)

Dated: September 25, 2009

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Counsel’ 0 hee we, Mle tik byepsir Conunitice, 1h
authority from each of the members thereof

APPROVED

By: By:

Name: Name: Se fuduna. & Shi.
Title: Tithe: Shoo hsldan . Reson s o golee

Counsel to Wells Fergo, NA. us Agent for the Second Counsel to the Official Commitiee of

Lien Lenders Unsecured Creditors
APPROVED APPROVED
By: BY
Namie: James M. Rhodes ‘Name: James M. Rhodes:
Title: President Tile: President
The Rhodes Entities : Debtors and Debtors-in-Possession

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ATTACHMENT A - RHODES ENTITIES
James M. Rhodes
Glynda Rhodes
Joba Rhodes
James M. Rhodes Dynasty Trust I
James M. Rhodes Dynasty Trust II
JMR Children’s Irrevocable Educational Trust
Truckee Springs Holdings, Inc.
Sedora Holdings LLC
Gypsum Resources, LLC
Tulare Springs Holdings, Inc.
Escalante-Zion Investments, LLC
HH Trust
Harmony Homes, LLC
Tock, LP
Tapemeasure, LP
Joshua Choya, LLC
American Land Management, LLC
South Dakota Conservancy, LLC
Meridian Land Company, LLC
Yucca Land Company, LLC
Sagebrush Enterprises, Inc.
Rhodes Ranch, LLC
Westward Crossing, LLC
Pinnacle Equipment Rental, LLC
Desert Communities, Inc.

Spirit Underground, LLC

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Tropicana Durango Investments, Inc,
Tropicana Durango, Ltd. I

Dirt Investments, LLC

Underground Technologies, LLC
South Dakota Aggregate and Engineerin
Freedom Underground, LLC ©
Jerico Trust

Canberra Holdings, LLC
Custom Quality Homes, LLC
Rhodes Ranch Golf, Inc,

ID Interior Design, LLC

8200277 v.13

vy, LLC

EXECUTION COPY
Case 09-14814-gwz

I. The following distributions \

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EXECUTION COPY

ATTACHMENT B

vere made and permitted pursuant to terms of Credit Agreement:

Date Amount Distribution Comments
4/17/2007 $42,705 Heritage > Sedora
4/17/2007 $707,295 Heritage > Sagebrush
5/4/2007 $56,939 Heritage > Sedora
5/4/2007 $943,061 Heritage > Sagebrush
7 OTAL $1,750,000

2. Transactions with Spirit Unde

8200277 v.13

ground and Freedom Underground (as set forth below):

[ATTACHED]

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Case 09-14814-gwz

Payments ta Spirit Underground
April 1, 2007 through March 32, 2008

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omies-o6 = tEfzarmno7 /30Y 2008 A207-5001 OPTS SRI 2O.01-5150.000g
07005606 INI Usa/2008 0307-3001 orosaes SOr-abay s
O7OIGS-O6 ayv23/2007 VW302008 A07-1001 OTs $O1-7500 10 01-9250.0000
OTE 41723/2007tyso/2008 220-01-523500000
Ewasesg TAO Yaa2des TE-19000 SILOS SOB0L0G tab C0ci-0e:n400
EWaatS y2af2007 Wai/2008 3194-1000 SHS A100 133. 2090200 rid-Do00-1400. she
EWAMEE 12077007 =— 4/22/2008 WR12-2000 ARSE 700D £6 508-0600 ntr31-02.5300.0000
m4 8/2607 1/30/2008 &RGO- 1008 ARZDIO00-LED 2-20-0200 920-0000.00-24007720
1324-32 9/1/2007 3/3072008 RRIO-1004 sR LOCO-C 20-0400 p-O0NoO.Nde020
ewasese 4ayafzeoy = 4/30/2008 RaPMst0n RRPMIGOR 207 3-08-0808 .0000-00:1e0: ram
12e14 39/2/2007 22/28/2007 RAID LIOA RAaieO-16O 220-0t0
Rete 41/2/2007 1228/2007 ARIO-1008 RR202000-050 ZIGHIOE — pO-OdD-00-eOuaTA
122448 LYUI0F 12/2872 ARIO-1008 R70 1000.08 210-6600 p20.00dd00-4car7IS
1374.08 lyzrooy 14172008 RAML-FAEG RRMFALG-O2g 20R0400 — 14-0000.00-1400.r}

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INVOSCE O70086.07, PAV APP 57,
PIPES & VIVES, 36" & LARGER

INVOICE OMN066-07, PAY APP @?,
PIPES & VALVES, 35° & LARGER

COARECTION To RETAINAGE PADD
PAV ADP WK, 3/20/08, DISCREPEK

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1. The lenders would form a new e
liability company. The First Lien loans v

tN

2. Newco would purchase all of th
3. Revenue Ruling 99-6 provides t
would include a limited liability company
hand, the buyer is deemed to be buying th
Perspective they would be treated as sellir
income tax purposes as purchasing the 99
and the 1% partnership interest held by Ts
limited partnerships in turn sells its genere
the real estate owned by the limited partne
income tax purposes). At that point Newa

)

4, For federal income tax purposes,
liabilities of Heritage allocable to such me
tax basis in its Heritage interest. This gain
holds, directly or indirectly, assets subject
from the sale of inventory).

5. Therefore, contemporaneous with
interests, The Rhodes Companies, LLC - tl
Batcave, LP; Overflow, LP; Wallboard, Lk
entities to Newco for $1.00. Alternatively.
acquired from its sole member — Sagebrus}
the First Lien Lender Claims.

6.
after the Effective Date.

7.
Heritage membership interests in accordan

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Newco’s members may agree to c
after the Effective Date to treat Newco asa

The holders of the Heritage memb

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ATTACHMENT C

tity (“Newco”). Newco would be either a corporation or a limited

vould be deemed contributed to Newco.

‘interests in Heritage from its members for $10.00.

|

ton a sale of all of the interests of a partnership for tax purposes (which
, the sellers are treated as selling “partnership interests”. On the other

€ assets of the partnership. As a result, from the Heritage members’

ig all of the interests in Heritage. Newco would be treated for federal

/ partnership interests in each of the limited partnerships held by Heritage
‘uckee Springs. Further, assuming that the general partner of each of the

1 partnership interests to Newco, Newco would be deemed to have owned
tships (since each of the partnerships would have terminated for federal

lo would own all of the real estate.

each Heritage member would have a gain equal to the excess of the
mber (which the transaction relieves the member of) minus the member’s

would be treated as long-term capital gain (except to the extent Heritage
to Section 751 of the Code, generally inventory or receivables arising

or subsequent to Newco’s purchase of the Heritage membership

he general partner of each of Tick, LP; Glynda, LP; Jackknife, LP; LP;
?; and Chalkline, LP, -- shall sell its general partnership interests in such
the membership interest in The Rhodes Companies, LLC may be

n Enterprises, Inc, ~ in consideration for release of its obligations under

ontinue Newco as an LLC, file a check the box election effective the day
corporation for tax purposes, or convert into a corporation as of the day

ership interests and Newco will report the sale and purchase of the
pe with Revenue Ruling 99-6, 1999-1 CB 432.

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ATTACHMENT D — ARIZONA

RHODES ARIZONA PROPERTIES

Mee

S AZTEC
RHODES ARIZONA PROPERTIES LLC 306-24-115 | 20.5/ RD Model Home
RHODES ARIZONA PROPERTIES LLC 306-24-116 | 20.24 | 1807 AZTEC RD _| Model Home
RHODES ARIZONA PROPERTIES LLC 306-63-017 7.35 | 4536 W DORA DR | Model Home
RHODES ARIZONA PROPERTIES LLC 306-63-018 6.83 | 4528 W DORA DR | Model Home
4156 S AZTEC
RHODES ARIZONA PROPERTIES LLC 306-42-008A | 19.921 RD Dirt
1094 S AZTEC
RHODES ARIZONA PROPERTIES ILC 306-42-001 40 | RD Dirt

Total Acreage 114.59

Inside Pravada

g within Sections 2, 3, 4, 9 and 10, all in Township 20 North, Range 18
and Meridian, Mohave County, Arizona and within the following APN

Partially

Rhodes Arizona Properties 215-01-116 Graded
Partially

Rhodes Arizona Properties 215-01-113 Graded
Partially

Rhodes Arizona Properties 215-01-114 Graded
Partiaily

Rhodes Arizona Properties 215-01-111 Graded

Total Acreage  1,306+
Arizona Personal Property
Serial

Computers Number

HP 5150 2UA6030J6N

HP 5150 MXL615027R

HP 5150 2UA6030J557

HP WxX4400 2UA70608F7

HP WX4400 2UA70608HV

HP XW4200 2UA54215GL

Dell GZOGR61

Laptops

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HPNX6125
HPNX9600

Printers

HPLaser Jet 4250
HPLaser Jet 4104
HPLaser Jet. 4100
HPLaser Jet 1320

HP color Laser Jet 2600
HP color Laser Jet 2804
HP color Laser Jet 5550
HP office jet 6310

HP Photosmart D5160
Lexmark 7001-001
Lexmark 7001-001
Super G3 Printer-Scanner

Fax Machines

2 - HP office jets 7310

6 of the printers and the fax machines have copier capabilities

Miscellaneous Equipment
Dell Power Edge Server 2850
HP Design Jet 1055CM Plus Plotter
10 Battery Surge boxes and 10 power
11 -computer monitors 20" flat screen
4 calculators

14 telephone owned by Rhodes

Office Furniture
2 - drafting tables

Strips

3 - work tables with open shelves for plans

12 - file cabinets

2-5 drawer 63 x 18

1 - 3 drawer 36 x 20

7 ~ 4 drawer 18 x 48

2-4 drawer 20°x 48
2-3 shelf wood bookcases
4-4 shelf bookcases: (2) metal (2) wa
1 - hanging file for plans
1 - metal storage cabinet, 2-door, 4 sh
2- wooden storage cabinets 2-door, 1
11 - desks: (1) metal (10) wood
12 - desk chairs
12 - guest chairs
5 - stacking chairs
1 - 4 x 6 rotating white board
1 - garbage can

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od

elves

Shelf

13

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CND54803LY
CNF6071GBR

CNBXD06564
USLGY26030
USLGY42771
CNHC620168
CNGC64C1KC
JPBG532058
JPDC4D2072
CN639BGOYK
MY67G110DC
890CSTB
890CD3N
48141101150

85172579422
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10 - waste baskets
3 - 6 foot tables

2 - metal storage shelves- dimensions 5'h x 3'w x 18.5"d
2 - plastic Storage shelves- dimensions 6'h xX 3'W x 18" d

Executory Contracts and Unexpired Leases

To be provided by Plan Suppiement Date but shall include, but not
be
limited to ail development agreements and subcontractor
agreements

Trademarks and Tradenames
—Stemarks and lradenames

Rhodes Arizona Properties
Rhodes Arizona

Golden Valley Ranch
Pravada

Intangibles

All architectural and engineering drawings, plus work product associated
with Pravada and Golden Valley Ranch.
Ail agreements with Municipalities and utilities with respect to Pravada and Golden Valley Ranch,

Arizona general contractor's license.

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ATTACHMENT E - TRADENAMES/TRADEMARKS

All Rhodes Lead Home!
Rhodes Homes

R (logo)

R (logo) Rhodes Homes (owned by Rhodes Homes, Inc.)
RhodeMaster

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